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AO 2458 (CASDRev. 08113) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA                              v f • .'
                                                                                                                              r'~, ~   1

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               UNITED STATES OF AMERICA                                     AMENDED JUDGMENT IN A CRIMIiiAL CASE
                                     v.                                     (For Offenses Committed On or After November 1, ·19.87)
                         GALE MASON (5)
                                                                               Case Number:         14CR0224.MMA
                                                                                                                            vVt('
                                                                            ANTHONY COLOMBO
                                                                            Defendant's Attorney
REGISTRA TION NO.                    41466298
IZl Correction of Sentence for Clerial Mistake (Fed. R. Crim. P. 36)
THE DEFENDANT:
IZl pleaded gUilty to count(s)              COUNT 4 OF THE INDICTMENT

o was found guilty on count(s)
    after a plea of not guiltv.
Accordingly, the defendant is a4iudged guilty of such count(s), which involve the following offense(s):
                                                                                                                              Count
Title & Section                           Nature of Offense                                                                  Numher(s)
21 USC 841(a)(1)                          POSSESSION OF METHAMPHETAMINE WITH INTENT TO                                          1
                                          DISTRIBUTE




    The defendant is sentenced as provided in pages 2 through                           4          ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 IZl   Count(s)     REMAINING COUNT                                    is          dismissed on the motion of the United States.

 IZl Assessment: $100.00


 IZl No fine                        0 Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant shaH notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fuHy paid. If ordered to pay restitution, the defendant shan notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                            HON. MICHAEL M. ANELLO
                                                                            UNITED STATES DISTRICT JUDGE



                                                                                                                          14CR1224 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                 GALE MASON (5)                                                          Judgment - Page :1 of 4
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 EIGHTY-SEVEN (87) MONTHS AND TWENTY-TWO (22) DAYS TO RUN CONCURRENT TO STATE
 COURT CASE SCD246721.




 D      Sentence imposed pursuant to Title 8 USC Section 1326(b).
 tEl    The court makes the following recommendations to the Bureau of Prisons:
        COURT RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM (RDAP).

         COURT ALSO RECOMMENDS PLACEMENT IN THE SOUTHWEST REGION OF THE UNITED STATES.



 D       The defendant is remanded to the custody of the United States Marshal.

 D       The defendant shall surrender to the United States Marshal for this district:
         D    at                            A.M.              on
         D    as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
         Prisons:
         D    on or before
         D    as notified by the United States MarshaL
         D    as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

         Defendant delivered on
                                                                          to _________________________
                                  ------------------
 at
       ----------------------- , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL


                                                                                                      l4CRf224 MMA
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      AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

      DEFENDANT:                    GALE MASON (5)                                                                              Judgment - Page 3 of 4
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shaH be on supervised release for a term of:
FOUR (4) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
             The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o            substance abuse. (Check, if applicable.)
IZI          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
             The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
C8I
             Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
             The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in whi¢h he or she
             resides, works, is a student, or was convicted of a qualifYing offense. (Check if applicable.)
o            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

             If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
        such fine or restitution that remains unpaid at the commencement ofthe term of supervised release in accordance with the Schedule of
        Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
        I)  the defendant shall not leave the judicial district without the pennission ofthe court or probation officer;
        2)  the defendant shall report to the probation officer in a manner and ftequency directed by the court or probation officer;
        3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)  the defendant shall support his or her dependents and meet other family responsibilities;
        5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;                                       I
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shalI not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted pennission to do so by the probation officer;                                                                       .\
        10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view of the probation officer;
        11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement j>fficer;
        12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without t~e pennission of
            the coun; and
        13) as directed by the probation officer, the defendant shalI notifY third parties of risks that may be occasioned by the defendant's ctiminal record or
             personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
            with such notification requirement.


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                                SPECIAL CONDITIONS OF SUPERVISION

     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

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